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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 12-616V
                                      Filed: August 22, 2014
                                        Not for Publication


*************************************
JESSICA HANSON,                            *
                                           *
              Petitioner,                  *     Attorneys’ fees and costs decision based on
                                           *     stipulation of facts
 v.                                        *
                                           *
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *
                                           *
              Respondent.                  *
                                           *
*************************************
Ronald C. Homer, Boston, MA, for petitioner.
Darryl R. Wishard, Washington, DC, for respondent.

MILLMAN, Special Master


                DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

       On August 22, 2014, the parties filed a stipulation of facts in which they agreed on an
appropriate amount for attorneys’ fees and costs in this case.

       Petitioner filed an application for attorneys’ fees and costs on August 19, 2014. During
informal discussions, respondent raised objections to certain items in petitioner’s application.
Based on these objections, petitioner amends her application to request $39,250.00 for attorneys’


1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to redact such information prior to the document=s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
redact such material from public access.
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fees and costs and $38.00 for petitioner’s costs. Respondent does not object to these amounts.
The undersigned finds these amounts to be reasonable. Accordingly, the court awards:

        a.        $39,250.00, representing reimbursement for attorneys’ fees and costs. The
                  award shall be in the form of a check payable jointly to petitioner and Conway,
                  Homer & Chin-Caplan, P.C. in the amount of $39,250.00; and

        b.        $38.00, representing reimbursement for petitioner’s costs. The award shall be
                  in the form of a check payable to petitioner in the amount of $38.00.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith.2


IT IS SO ORDERED.


Dated: August 22, 2014                                                             s/ Laura D. Millman
                                                                                    Laura D. Millman
                                                                                      Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
